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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT


POPTECH, L.P.,                                       )
                                                     )       CIVIL ACTION NO.:
                Plaintiff,                           )       3:10-cv-00967 (MRK)
                                                     )
       v.                                            )
                                                     )
STEWARDSHIP INVESTMENT                               )
ADVISORS, LLC, et al.,                               )
                                                     )
                Defendants.                          )       OCTOBER 15, 2010


             DEFENDANTS STEWARDSHIP INVESTMENT ADVISORS, LLC
            AND MARLON QUAN’S MOTION TO DISMISS THE COMPLAINT

       Pursuant to Rules 12(b)(1), 12(b)(6) and 9(b) of the Federal Rules of Civil Procedure, and

the Private Securities Litigation Reform Act of 1995 (“PSLRA”), Defendants Stewardship

Investment Advisors, LLC (“SIA”) and Marlon Quan (“Quan”) respectfully request that the

Court dismiss plaintiff Poptech, L.P.’s (“Poptech”) Complaint.

       As set out more fully in the Memorandum of Law accompanying this motion, Poptech

lacks standing to assert claims directly against defendants SIA and Quan because the Complaint

alleges injury to the Stewardship Credit Arbitrage Fund, LLC (the “Fund”) as a result of

imprudent investments made by the Fund. Accordingly, Counts One through Six of the

Complaint, all of which purport to assert direct rather than derivative claims, must be dismissed.

       An independent ground for dismissal of Counts One and Two, the only federal claims in

the Complaint, is their failure to state a claim in accordance with the standards imposed by

Fed.R.Civ.P. 9(b), 12(b)(6) and the PSLRA. As explained in Point II, Count One fails to state a

claim under §10(b) of the Securities Exchange Act of 1934 (“Exchange Act”) because (a) it fails

to allege that SIA or Quan made any material misstatement or omissions on which Poptech
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relied; (b) it fails to allege the element of loss causation essential to a §10(b) claim; and (c) it

fails to plead facts giving rise to a strong inference that SIA and Quan acted with scienter.

Dismissal of the §10(b) claim necessarily results in a failure to state a claim under the “control

person” provisions of §20(a) of the Exchange Act, and therefore Count Two also must be

dismissed.

        Finally, dismissal of the federal claims -- whether for lack of standing or failure to state a

claim -- should lead to dismissal of all remaining state law claims, contained in Counts Three

through Eleven, for lack of subject matter jurisdiction. No special circumstances warrant the

exercise of supplemental jurisdiction following dismissal of the federal claims, and the

Complaint fails to allege the elements of either diversity jurisdiction or jurisdiction under the

Class Action Fairness Act.

        WHEREFORE, Defendants Stewardship Investment Advisors, LLC and Marlon Quan

respectfully request that this Court grant their Motion to Dismiss Plaintiff Poptech, L.P.’s

Complaint.




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                                    CONCLUSION

      The Complaint must be dismissed as against Stewardship Investment Advisors, LLC and

Marlon Quan.



                                        DEFENDANTS, STEWARDSHIP INVESTMENT
                                        ADVISORS AND MARLON QUAN


                                 By:    /s/ Francis H. Morrison III
                                        Francis H. Morrison III (ct04200)
                                        Denise V. Zamore (ct27549)
                                        AXINN, VELTROP & HARKRIDER LLP
                                        90 State House Square
                                        Hartford, Connecticut 06103
                                        Telephone (860) 275-8100
                                        Facsimile (860) 275-8101
                                        fhm@avhlaw.com
                                        dvz@avhlaw.com

                                        OF COUNSEL:

                                        DAVID S. SMITH
                                        Smith Campbell, LLP
                                        110 Wall Street
                                        New York, New York 10005
                                        Telephone: 212-344-1500
                                        Facsimile: 212-344-5585
                                        Email: dsmith@sc-llp.com




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                                CERTIFICATE OF SERVICE

        I hereby certify that on October 15, 2010, a copy of the foregoing was filed electronically
and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent
by email to all parties by operation of the Court’s electronic filing system or by mail to anyone
unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may
access this filing through the Court’s CM/ECF system.




                                                     /s/ Francis H. Morrison III
                                                     Francis H. Morrison III




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